 Case 2:18-cr-00041-LGW-BWC Document 122 Filed 02/05/19 Page 1 of 12



                                                             Minimum Mandatory □
                                                                   Rule35/5K1.1     El
                                                                   Appeal Waiver 13
                                                                 Asset Forfeiture   □
                                                                      Restitution   □
                                                                            Other   13


                     UNITED STATES DISTRICT COURT
                     SOUTHERN DISTRICT OF GEORGIA
                          BRUNSWICK DIVISION



 UNITED STATES OF AMERICA

                    V.                                       CR: 2:18-041


 SEAN PATRICK REARDON




                                 PLEA AGREEMENT


      Defendant SEAN PATRICK REARDON, represented by his counsel Alan

D. Tucker, and the United States of America, represented by Special Assistant

United States Attorney Katelyn Semales, respectfully state to this Honorable Court

that they have reached a plea agreement in this case. The terms and conditions of

that agreement are as follows.

1.    Guilty Plea

      Defendant agrees to enter a plea of guilty to Count One of the Indictment,

which charges a violation of 18 U.S.C. § 371 (Conspiracy).

2.    Elements and Factual Basis

      The elements necessary to prove the offense charged in Count One are (1)

that two or more persons in some way agreed to try to accomplish a shared and

unlawful plan; (2) the Defendant knew the unlawful purpose of the plan and

willfully joined in on it; (3) during the conspiracy, one of the conspirators knowingly
 Case 2:18-cr-00041-LGW-BWC Document 122 Filed 02/05/19 Page 2 of 12




engaged in at least one overt act as described in the indictment; and (4) the overt

act was committed at or about the time alleged and with the purpose of carrying out

or accomplishing some object of the conspiracy.

      Defendant agrees that he is, in fact, guilty of this offense. He agrees to the

accuracy of the following facts, which satisfy the offense's required elements:

      From on or around September 2010 up to and including February 15, 2018,

the precise dates being unknown,in Camden County, in the Southern District of

Georgia, and elsewhere, the defendant, SEAN PATRICK REARDON,did

knowingly and willfully combine, conspire, confederate and agree with others

known and unknown:(a) to knowingly receive, conceal, and retain stolen property

belonging to the United States, to wit, small arms ammunition and explosives, with

the intent to deprive the United States of the use and benefit of that property and to

convert that property to their own use or gain, said property of a value exceeding

$1,000, in violation of Title 18, United States Code, Section 651; and (b) to receive,

possess, transport, conceal, store, and dispose of stolen explosive materials which

had been shipped or transported in interstate or foreign commerce, knowing and

having reasonable cause to believe that the explosive materials were stolen, in

violation of Title 18, United States Code, Section 842(h).

      In furtherance of and to effect the objects of the conspiracy, the following overt

acts, among others, were committed in the Southern District of Georgia and

elsewhere:
 Case 2:18-cr-00041-LGW-BWC Document 122 Filed 02/05/19 Page 3 of 12




      a) On or about September 2010 through July 2014, on multiple occasions,

while serving as a United States Marine, the precise dates being unknown,

defendant SEAN PATRICK REARDON received stolen ammunition from others,

known and unknown.

      b) On or about September 2010 through July 2014, on at least one occasion,

the precise dates being unknown, individuals known and unknown entered Naval

Submarine Base Kings Bay, removed the stolen small arms ammunition and

explosives from Naval Submarine Base Kings Bay,and transported them to 103 Doris

Street, St. Mary's Georgia, a rental property owned by the defendant SEAN

PATRICK REARDON.

      c) On or about September 2010 through July 2014, the precise date being

unknown, defendant SEAN PATRICK REARDON with others known and

unknown buried the stolen small arms ammunition and explosives at 103 Doris

Street, St. Mary's Georgia.

      d) On or about February 14, 2018, defendant SEAN PATRICK REARDON

disposed of two crates of stolen small arms ammunition and explosives, previously

buried at his rental property located at 103 Doris Street, St. Mary's Georgia, by

dumping the crates into the Satilla River from a boat ramp in Woodbine, Georgia.

3.    Possible Sentence

      The Defendant's guilty plea will subject him to the following maximum

possible penalties: 5 years'imprisonment, 3 years' supervised release, a $250,000
  Case 2:18-cr-00041-LGW-BWC Document 122 Filed 02/05/19 Page 4 of 12




fine, such restitution as may be ordered by the Court, and forfeiture of all forfeitable

assets. The Court additionally is obliged to impose a $100 special assessment.

4.    No Promised Sentence

      No one has promised Defendant that the Court will impose any particular

sentence or a sentence within any particular range. The Court is not bound by any

estimate of sentence given or recommendations made by Defendant's counsel, the

government, the U.S. Probation Office, or anyone else. The Court may impose a

sentence up to the statutory maximum. Defendant will not be allowed to withdraw

bis plea of guilty if be receives a more severe sentence than be expects.

5.    Court's Use of Guidelines

      The Court is obbgated to use the United States Sentencing Guidelines to

calculate the applicable guideline range for Defendant's offense and to consider that

range, possible departures under the Sentencing Guidebnes, and other sentencing

factors under 18 U.S.C. § 3553(a), in determining bis sentence. The Sentencing

Guidelines are advisory; the Court is not required to impose a sentence within the

range those Guidebnes suggest. The Sentencing Guidebnes are based on all of

Defendant's relevant conduct, pursuant to U.S.S.G. § 1B1.3, not just the facts

underlying the particular Count to which Defendant is pleading guilty.

6.    Agreements Regarding Sentenciner Guidebnes

      a.     Acceptance of Responsibility

      The Government wiU not object to a recommendation by the U.S. Probation

Office that Defendant receive a two-level reduction in offense level for acceptance of


                                            4
 Case 2:18-cr-00041-LGW-BWC Document 122 Filed 02/05/19 Page 5 of 12




responsibility pursuant to Section 3El.l(a) of the Sentencing Guidelines. If the U.S.

Probation Office makes that recommendation, and Defendant's offense level is 16 or

greater prior to any reduction for acceptance of responsibihty, the government will

move for an additional one-level reduction in offense level pursuant to Section

3E 1.1(b) based on Defendant's timely notification of his intention to enter a guilty

plea.

        b.    Use ofInformation

        The government is free to provide full and accurate information to the Court

and U.S. Probation Ofiice for use in calculating the appficable Sentencing

Guidelines range.

7.      Dismissal of Other Counts

        At sentencing, the government will move to dismiss any other Counts of the

Indictment that remain pending against Defendant.

8.      Cooperation

        a.    Complete and Truthful Cooperation Required

        Defendant, if he chooses to cooperate, must provide full, complete, candid, and

truthful cooperation in the investigation and prosecution of the offenses charged in

his Indictment and any related offenses. Defendant shall fully and truthfully disclose

his knowledge of those offenses and shaU fully and truthfully answer any question

put to him by law enforcement officers about those offenses.

        This agreement does not require Defendant to "make a case" against any

particular person. His benefits under this agreement are conditioned only on his
 Case 2:18-cr-00041-LGW-BWC Document 122 Filed 02/05/19 Page 6 of 12




cooperation and truthfulness, not on the outcome of any trial, grand jury, or other

proceeding.

      b.      Motion for Reduction in Sentence Based on Cooperation

      The government, in its sole discretion, will decide whether Defendant's

cooperation quahfies as"substantial assistance" pursuant to U.S.S.G. § 5K1.1 or Fed.

R. Grim. P. 35 and thereby warrants the fihng of a motion for downward departure

or reduction in Defendant's sentence. If such a motion is filed, the Court, in its sole

discretion, will decide whether, and to what extent. Defendant's sentence should be

reduced. The Court is not required to accept any recommendation by the government

that the Defendant's sentence be reduced.

9.    Financial Obhgations and Agreements

      a.      Special Assessment

      Defendant agrees to pay a special assessment in the amount of $100.00,

payable to the Clerk of the United States District Court, which shall be due

immediately at the time of sentencing.

      b.      Required Financial Disclosure

      Not later than 30 days after the entry of his guilty plea. Defendant shall

provide to the United States, under penalty of perjury, a financial disclosure form

listing all of his assets and financial interest, whether held directly or indirectly,

solely or jointly, in his name or in the name of another. The United States is

authorized to run credit reports on Defendant and to share the contents of the

reports with the Court and U.S. Probation.
 Case 2:18-cr-00041-LGW-BWC Document 122 Filed 02/05/19 Page 7 of 12




10.   Waivers


      a.     Waiver of Appeal

      Defendant entirely waives his right to a direct appeal of his conviction and

sentence on any ground (including any argument that the statute to which the

defendant is pleading guilty is unconstitutional or that the admitted conduct does not

fall within the scope of the statute). The only exceptions are that the Defendant may

file a direct appeal of his sentence if(1)the court enters a sentence above the statutory

maximum,(2) the court enters a sentence above the advisory Sentencing Guidelines

range found to apply by the court at sentencing; or (3) the Government appeals the

sentence. Absent those exceptions, Defendant explicitly and irrevocably instructs his

attorney not to file an appeal.

      b.     Waiver of Collateral Attack

      Defendant entirely waives his right to collaterally attack his conviction and

sentence on any ground and by any method, including but not limited to a 28 U.S.C.

§ 2255 motion. The only exception is that Defendant may collaterally attack his

conviction and sentence based on a claim of ineffective assistance of counsel.

      c.     FOIA and Privacy Act Waiver

      Defendant waives all rights, whether asserted directly or through a

representative, to request or receive from any department or agency of the United

States any record pertaining to the investigation or prosecution of this case under

the authority of the Freedom of Information Act, 5 U.S.C. § 552, or the Privacy Act

of 1974, 5 U.S.C. § 552a, and all subsequent amendments thereto.
 Case 2:18-cr-00041-LGW-BWC Document 122 Filed 02/05/19 Page 8 of 12




      d.     Fed. R. Crim. P. 11(f)and Fed. R. Evid. 410 Waiver

      Rule 11(5 of the Federal Rules of Criminal Procedure and Rule 410 of the

Federal Rules of Evidence ordinarily limit the admissibihty of statements made by

a defendant during the course of plea discussions or plea proceedings. Defendant

knowingly and voluntarily waives the protections of these rules. If Defendant fails

to plead guilty, or his plea of guilty is later withdrawn, all of Defendant's

statements in connection with this plea, and any leads derived therefrom, shall be

admissible for any and all purposes.

11.   Defendant's Rights

      Defendant has the right to be represented by counsel, and if necessary have

the court appoint counsel, at trial and at every other critical stage of the proceeding.

Defendant possesses a number of rights which he will waive by pleading guilty,

including: the right to plead not guilty, or having already so pleaded, to persist in

that plea; the right to a jury trial; and the right at trial to confront and cross-

examine adverse witnesses, to be protected from compelled self-incrimination, to

testify and present evidence, and to compel the attendance of witnesses.

12.   Satisfaction with Counsel

      Defendant has had the benefit of legal counsel in negotiating this agreement.

Defendant believes that his attorney has represented him faithfully, skillfully, and

diligently, and he is completely satisfied with the legal advice given and the work

performed by his attorney.
 Case 2:18-cr-00041-LGW-BWC Document 122 Filed 02/05/19 Page 9 of 12




13.   Breach of Plea Agreement

      If Defendant breaches the plea agreement, withdraws his guilty plea, or

attempts to withdraw his guilty plea, the government is released from any

agreement herein regarding the calculation of the advisory Sentencing Guidehnes

or the appropriate sentence. In addition, the government may (1) declare the plea

agreement null and void,(2) reinstate any counts that may have been dismissed

pursuant to the plea agreement, and/or(3)file new charges against Defendant that

might otherwise be barred by this plea agreement. Defendant waives any statute-

of-limitations or speedy trial defense to prosecutions reinstated or commenced

under this paragraph.

14.   Entire Agreement

      This agreement contains the entire agreement between the government and

Defendant. The government has made no promises or representations except those

set forth in writing in this Plea Agreement. The government further denies

existence of any other terms or conditions not stated herein. No other promises,

terms or conditions will be entered into unless they are in writing and signed by all

the parties.



                           Signatures on Following Page
Case 2:18-cr-00041-LGW-BWC Document 122 Filed 02/05/19 Page 10 of 12




                               BOBBY L. CHRISTINE
                               UNITED STATES ATTORNEY




mlie>
Date                           Brian T. Rafferty
                               Chief, Criminal Division



12^ Id
Date                           Katelyn Semales
                               Special Assistant United States Attorney



                     Signatures on Following Page




                                  10
 Case 2:18-cr-00041-LGW-BWC Document 122 Filed 02/05/19 Page 11 of 12




       I have read and carefully reviewed this agreement with my attorney. I

understand each provision of this agreement, and I voluntarily agree to it. I hereby

stipulate that the factual basis set out therein is true and accurate in every respect.

                                                                              /




Date                                      ean Patrick Reardon, Defendant



       I have fully explained to Defendant all of his rights, and I have carefully

reviewed each and every part of this agreement with him. I believe that he fully

and completely understands it, and that his decision to enter into this agreement is

an informed, intelligent, and voluntary one.




 lat                                    Alan David Tucker, Wfendant's AtftJNiey




                                          11
   Case 2:18-cr-00041-LGW-BWC Document 122 Filed 02/05/19 Page 12 of 12




                      UNITED STATES DISTRICT COURT
                     SOUTHERN DISTRICT OF GEORGIA
                         BRUNSWICK DIVISION


 UNITED STATES OF AMERICA                      CR 218-41


               V.



 SEAN PATRICK REARDON
                                      ORDER


      The aforesaid Plea Agreement, having been considered by the Court in

conjunction with the interrogation by the Court of the defendant and the

defendant's attorney at a hearing on the defendant's motion to change his plea and

the Court finding that the plea of guilty is made freely, voluntarily and knowingly,

it is thereupon,

      ORDERED that the plea of guilty by defendant be, and it is, hereby accepted

and the foregoing Plea Agreement be, and it is, hereby ratified and confirmed.



             This        day of




                                    DGE, yNJ^B STATES DISTRICa^OURT
                                  SOUTHERN mgTRICT OF GEORGIA
